Case 6:08-cr-00028-GAP-DAB Document 42 Filed 02/27/08 Page 1 of 2 PageID 115




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
   UNITED STATES OF AMERICA

   -vs-                                                            Case No. 6:08-cr-28-Orl-31KRS

   MARCUS ROGOZINSKI,
   VIRA HONG
   _____________________________________

                                                 ORDER

             This cause came on for consideration without oral argument on the following motions filed

   herein:

                MOTION:       DEMAND FOR DISCOVERY (Doc. No. 38)

                FILED:      February 26, 2008
                _____________________________________________________________

                THEREON it is ORDERED that the motion is STRICKEN



                MOTION:       DEMAND FOR DISCOVERY (Doc. No. 39)

                FILED:      February 26, 2008
                _______________________________________________________

                THEREON it is ORDERED that the motion is STRICKEN.


                MOTION:       WRIT OF CERTIORARI (Doc. No. 40)

                FILED:      February 26, 2008
                _______________________________________________________

                THEREON it is ORDERED that the motion is STRICKEN.
Case 6:08-cr-00028-GAP-DAB Document 42 Filed 02/27/08 Page 2 of 2 PageID 116




          I advised the Defendants in a hearing conducted on February 27, 2008, that they may not file

   papers on their own behalf because each of them is represented by counsel. Accordingly, the Court

   will not consider the above-referenced documents because they were filed by the Defendants on their

   own behalf.

          DONE and ORDERED in Orlando, Florida on this 27th day of February, 2008.




                                                                  Karla R. Spaulding
                                                               KARLA R. SPAULDING
                                                         UNITED STATES MAGISTRATE JUDGE

   Copies furnished to:
   United States Attorney
   Counsel for Defendants




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